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 1                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
 2                                 EASTERN DIVISION
 3                                             )
        UNITED STATES OF AMERICA,              )   Case No. 17 CR 281
 4                                             )
                           Plaintiff,          )
 5                                             )
                     vs.                       )   Chicago, Illinois
 6                                             )   October 13, 2017
        CARLOS R. MEZA,                        )   10:20 a.m.
 7                                             )
                           Defendant.          )
 8
                        TRANSCRIPT OF PROCEEDINGS - Status
 9                     BEFORE THE HONORABLE ELAINE E. BUCKLO
10
        APPEARANCES:
11
        For the Plaintiff:              MR. JOHN R. LAUSCH, JR.
12                                      United States Attorney
                                        BY: MR. BRIAN R. HAVEY
13                                      Assistant United States Attorney
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                                        Chicago, Illinois 60604
15
        For the Defendant:              MR. JACK P. RIMLAND
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18
19
20
21
        Court Reporter:                 SANDRA M. MULLIN, CSR, RMR, FCRR
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 1            (Proceedings heard in open court:)
 2                   THE CLERK: 17 CR 281-1, USA v. Carlos Meza.
 3                   MR. HAVEY: Good morning, Judge. Brian Havey on
 4      behalf of the United States.
 5                   THE COURT: Good morning.
 6                   MR. RIMLAND: Good morning, your Honor. Jack
 7      Rimland. I'm here on behalf of Mr. Joshua Kutnick who
 8      represents Mr. Meza but is otherwise not disposed today.
 9                   THE COURT: Okay.
10                   THE DEFENDANT: Carlos Meza.
11                   THE COURT: Wait a minute. Well, there was an
12      appearance filed. Okay.
13                   Where are we on this case? Is Mr. Meza here?
14                   Are you Mr. Meza?
15                   MR. RIMLAND: Yes.
16                   MR. HAVEY: After Mr. Kutnick filed his appearance,
17      the government reproduced its discovery, and we did that
18      approximately one month ago, Judge. So we had produced
19      discovery to a prior attorney, and then after Mr. Kutnick --
20                   THE COURT: Has he been here at the prior statuses?
21                   MR. HAVEY: He was at the last status hearing, and
22      he was -- he was the duty attorney. And so he was filing an
23      appearance pursuant to the Federal Defender Program. And so
24      after that, we reproduced discovery to him, Judge.
25                   MR. RIMLAND: And, your Honor, I'm sorry, I can't
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 1      report to the court what is going on with respect to this
 2      case, other than he asked me as a favor to appear for him
 3      because he couldn't make it today.
 4                   THE COURT: Is he retained?
 5                   MR. RIMLAND: No.
 6                   THE COURT: He is appointed?
 7                   MR. RIMLAND: I understand it to be that he is
 8      appointed, yes.
 9                   MR. HAVEY: He was on the panel. He was on the
10      duty -- on duty at the time that the call came in.
11                   THE COURT: So you haven't heard anything since you
12      produced discovery a month ago?
13                   MR. HAVEY: He told me he was traveling in from
14      Europe, he was coming in today. We tried to get the date
15      rescheduled for a time when he was available, and that -- we
16      couldn't find a date on a Friday, given your trial schedule.
17                   THE COURT: We've got next week. Oh, that's true,
18      we didn't. The trial got moved.
19                   MR. HAVEY: So he then arranged to have Mr. Rimland
20      appear on his behalf. But, I don't know, I can't speak to
21      how far he has gotten in terms of reviewing the discovery.
22                   THE COURT: Well, I think we need a time when he is
23      here. So we can make it anytime pretty much next week. So
24      why don't I say next Thursday at 10:00 o'clock, if he doesn't
25      want a Friday.
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 1                   MR. RIMLAND: That's the 18th?
 2                   MR. HAVEY: 19th.
 3                   MR. RIMLAND: 19th.
 4                   THE COURT: Okay. We'll exclude time --
 5                   MR. RIMLAND: Okay.
 6                   THE COURT: -- in the interest of justice. I need
 7      to have the person who is making decisions --
 8                   MR. RIMLAND: Yes.
 9                   THE COURT: -- here to see where you are. Okay.
10                   MR. HAVEY: All right. Thank you.
11                   MR. RIMLAND: What time, your Honor?
12                   THE COURT: 10:00 will be fine.
13                   MR. RIMLAND: 10:00?
14                   THE COURT: Okay. Thank you.
15                   MR. RIMLAND: Thank you.
16                   MR. HAVEY: Thank you, Judge.
17            (Which were all the proceedings heard.)
18                                      CERTIFICATE
19            I certify that the foregoing is a correct transcript
20      from the record of proceedings in the above-entitled matter.
21
22      /s/ SANDRA M. MULLIN                               November 6, 2019
23      SANDRA M. MULLIN, CSR, RMR, FCRR
        Official Court Reporter
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